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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                                         Crim. No. 17-232 (EGS)
 MICHAEL T. FLYNN,

                            Defendant


                    NOTICE OF COMPLIANCE WITH MINUTE ORDER

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby files with the Court additional materials in response to the

Court’s Minute Order of September 29, 2020. As we have previously disclosed, beginning in

January 2020, the United States Attorney for the Eastern District of Missouri has been

conducting a review of the Michael T. Flynn investigation. On September 23, 2020, the

government disclosed handwritten notes of former Deputy Assistant Director (DAD) Peter

Strzok (23501 & 23503) and former Deputy Director (DD) Andrew McCabe (23502) that were

obtained and analyzed by USAO EDMO during the course of its review.

       On September 24, 2020, counsel for Michael T. Flynn filed a supplement to their motion

to dismiss (Doc. 248), attaching the single page of McCabe notes as Exhibit B (Doc. 248-2), and

the two pages of Strzok notes as Exhibit C (Doc. 248-3) and Exhibit D (Doc. 248-4).

       On September 28, 2020, Aitan D. Goelman, an attorney representing former DAD Peter

Strzok, sent a letter to the Court notifying the Court that the notes contained handwritten dates

that appeared to have been added by someone other than his client.
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          On September 29, 2020, the Court questioned the government about this assertion and

ordered the government to file any additional motions or supplemental materials by no later than

October 7, 2020.

          On October 2, 2020, Michael R. Bromwich and Rachel B. Peck, attorneys representing

former DD McCabe sent a letter to the Court notifying the Court that, among other things, the

notes contained handwritten dates that appeared to have been added by someone other than their

client.

          In response to the Court and counsel’s questions, the government has learned that, during

the review of the Strzok notes, FBI agents assigned to the EDMO review placed a single yellow

sticky note on each page of the Strzok notes with estimated dates (the notes themselves are

undated). Those two sticky notes were inadvertently not removed when the notes were scanned

by FBI Headquarters, before they were forwarded to our office for production. The government

has also confirmed with Mr. Goelman and can represent that the content of the notes was not

otherwise altered.

          Similarly, the government has learned that, at some point during the review of the

McCabe notes, someone placed a blue “flag” with clear adhesive to the McCabe notes with an

estimated date (the notes themselves are also undated). Again, the flag was inadvertently not

removed when the notes were scanned by FBI Headquarters, before they were forwarded to our

office for production. Again, the content of the notes was not otherwise altered.




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       The government hereby files updated versions of these documents, and suggests that in

light of the foregoing, it would be appropriate to substitute Doc. 248-2 with Exhibit A, Doc. 248-

3 with Exhibit B, and Doc. 248-4 with Exhibit C.


                                                    Respectfully submitted,

                                                    MICHAEL R. SHERWIN
                                                    United States Attorney
                                                    NY Bar No. 4444188

                                                    KENNETH C. KOHL
                                                    Acting Principal Assistant U.S. Attorney

                                                    By: /s/ Jocelyn Ballantine
                                                    Jocelyn Ballantine
                                                    Assistant United States Attorney
                                                    CA Bar No. 208267
                                                    555 4th Street NW
                                                    Washington, D.C. 20530

Dated: October 7, 2020
Enclosures




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